Case 1:04-cv-07280-GBD-SN Document 536-17 Filed 04/01/19 Page 1 of 4




         Exhibit 17
Case 1:04-cv-07280-GBD-SN Document 536-17 Filed 04/01/19 Page 2 of 4




Adel Bin Mohammed Albarran                                                                0J).1~&>~
                                                                                          ~~IAJI 9 ~~1.:,IJ~~l9 ol.abAJJ
Law Firm
License number: 110/34                                                                                                 n /II , : ~iiJfi"J
            ~ . /( /~-..Jo :,u_,JI
       ..p , <i..<i-. / ,   / I( . : ~.Ju11




           .Jill totlitb


   ... , t t ./, 1/ra. t-}j) (t, In I ov ,) ~J .Jt91 ~r- ✓"j..,,.~ I y~ ;JWI •JJ.JI J                                    ~r' ~ ~
              .r5J~ L>J.) •JJ.JI yW- ~ y l - ._.o..!S ( ~ \ l) ~I ~ J~ J.wl ~tJ ,Y' "J.)L.aJ~
   ,r>- oJ.l .!JJ:,J (o,, 1, A. I,, ,. I. r) ~)I J> •J..l.:ll p.1 yW..1 ~ tf.A!Jj ~.)t...... ,y J-T~
                                                                .(f .. '(/I'( Ir . Jl r I a. a. l /. '/ . I t,}i ,Y' o_;.JJ ..:.,~




         l n l - IY!V'\ ~~1 ►,JI - ! ..,.:W.-V!V, ~          - 0~~0~~_;.b - (Jg~l\r - ._,;,l:>)l - ~.>~I ~}'.11~1
                        lnfo@albran-attorney.com - ~ 1 'I 1 1 r I n . 1v : ..,..Sli> - ~ 'I 1 i Ir Ir I VYY : ..iul&
Case 1:04-cv-07280-GBD-SN Document 536-17 Filed 04/01/19 Page 3 of 4
Case 1:04-cv-07280-GBD-SN Document 536-17 Filed 04/01/19 Page 4 of 4
